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 1   HEATHER E. WILLIAMS, #122664
     Federal Defender
 2   MIA CRAGER, #300172
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, CA 95814
 4   Tel: 916-498-5700/Fax 916-498-5710
     Mia_Crager@fd.org
 5
     Attorney for Defendant
 6   POR JOUA VANG
 7
                              IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                    Case No.    2:19-cr-00148-WBS
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            Plaintiff,                            STIPULATION AND ORDER TO CONTINUE
12                                                SENTENCING AND MODIFY PRESENTENCE
     vs.                                          SCHEDULE
13
     POR JOUA VANG,                               DATE: October 7, 2024
14                                                TIME: 9:00 a.m.
            Defendant.                            JUDGE: Hon. William B. Shubb
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17
            IT IS HEREBY STIPULATED by and between the parties hereto through their
18
     respective counsel, that the sentencing hearing scheduled for June 24, 2024, at 9:00 a.m. be
19
     continued to October 7, 2024, at 9:00 a.m.
20
            It is further requested that the PSR schedule be modified, as follows:
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22
            Draft Presentence Report Due:                                August 26, 2024
23
            Informal Objections to Presentence Report Due:               September 9, 2024
24
            Final Presentence Report Due:                                September 16, 2024
25
            Formal Objections to Presentence Report Due:                 September 23, 2024
26
            Reply or Statement of Non-Opposition Due:                    September 30, 2024
27
28          Judgment and Sentencing:                                     October 7, 2024, 9:00 a.m.
       Case 2:19-cr-00148-WBS Document 72 Filed 06/21/24 Page 2 of 3



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 2                                                              Respectfully submitted,
 3   Dated: June 18, 2024                                       HEATHER E. WILLIAMS
                                                                Federal Defender
 4
                                                                /s/ Mia Crager
 5
                                                                MIA CRAGER
 6                                                              Assistant Federal Defender
                                                                Attorney for Defendant
 7                                                              POR JOUA VANG

 8   Dated: June 18, 2024
                                                                PHILLIP A. TALBERT
 9                                                              United States Attorney

10                                                              /s/ James Conolly
                                                                JAMES CONOLLY
11                                                              Assistant U.S. Attorney
                                                                Attorney for Plaintiff
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      Stipulation and Order to Continue Sentencing and Modify
                                                                  -2-
      PSR Schedule
       Case 2:19-cr-00148-WBS Document 72 Filed 06/21/24 Page 3 of 3



 1
                                                                ORDER
 2
 3            IT IS HEREBY ORDERED that the sentencing hearing previously set for June 24,
 4   2024 is CONTINUED to October 7, 2024, at 9:00 a.m. The modified presentence schedule is
 5   further adopted as this Court’s order.
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 7   Dated: June 20, 2024

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      Stipulation and Order to Continue Sentencing and Modify
                                                                 -3-
      PSR Schedule
